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                   U.S. District Court for the Northern District Of Illinois
                                 Attorney Appearance Form


Case Title: Inmar, Inc., et al. v. Monica                  Case Number: 18-cv-02306
            Murphy Vargas, et al.

An appearance is hereby filed by the undersigned as attorney for:
MLW Squared, Inc. (d/b/a Ahalogy)
Attorney name (type or print): Carrie A. Hall

Firm: Taft Stettinius & Hollister LLP

Street address: 111 E. Wacker Drive, Suite 2800

City/State/Zip: Chicago, Illinois 60601

Bar ID Number: 6269884                                     Telephone Number: 312-527-4000
(See item 3 in instructions)

Email Address: cahall@taftlaw.com

Are you acting as lead counsel in this case?                                    ✔ Yes              No

Are you acting as local counsel in this case?                                        Yes       ✔ No
Are you a member of the court’s trial bar?                                      ✔ Yes              No

If this case reaches trial, will you act as the trial attorney?                 ✔ Yes              No

If this is a criminal case, check your status.                        Retained Counsel
                                                                      Appointed Counsel
                                                                      If appointed counsel, are you
                                                                      a
                                                                          Federal Defender
                                              CJA Panel Attorney
______________________________________________________________________
In order to appear before this Court an attorney must either be a member in good standing of this Court’s
general bar or be granted leave to appear pro hac vice as provided for by local rules 83.12 through 83.14.
I declare under penalty of perjury that the foregoing is true and correct. Under 28 U.S.C.§1746, this
statement under perjury has the same force and effect as a sworn statement made under oath.

Executed on April 17, 2018

Attorney signature:            S/ Carrie A. Hall
                               (Use electronic signature if the appearance form is filed electronically.)
                                                                                               Revised 8/1/2015
